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     Attorneys for Defendant
 4   Elsie Fuller
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                   ) Case No.: 2:13-CR-103-MCE
     UNITED STATES OF AMERICA,                       )
10                                                   ) STIPULATION AND ORDER MODIFYING
                    Plaintiff,                       ) CONDITIONS OF RELEASE
11                                                   )
            v.                                       )
12                                                   )
     ELSIE FULLER,                                   )
13                                                   )
                    Defendant.                       )
14
15                  On or about April 5, 2013, Ms. Elsie Fuller was arrested along with several other
16   persons. On that date Ms. Fuller was released from custody on conditions of release including
17
     Condition 9 which requires Ms. Fuller to submit to drug and /or alcohol testing as approved by
18
     the pretrial services officer. This condition was recommended based upon information that Ms.
19
20   Fuller had used marijuana. Ms. Fuller has been under this condition since April of 2013 – over

21   one year. She has tested regularly and all of her tests have been negative. Counsel for Ms.
22
     Fuller has been in contact with her pretrial officer Amaryllis Gonzalez as well as the assigned
23
     Assistant United States Attorney. Neither has any objection to his request.
24
            STIPULATION:
25
26          Therefore, Plaintiff, United States, and Defendant, Elsie Fuller, through her undersigned

27   counsel, hereby stipulate and agree that the Court should delete condition 9 of Ms. Fuller’s
28
     release conditions to delete the requirement that she continue to drug and alcohol test.


                                                      1
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               All other previously imposed conditions of pretrial release should remain in full force and
 1
 2   effect.

 3   IT IS SO STIPULATED.
 4
 5
 6   DATED: June 11, 2014                    BENJAMIN B. WAGNER
                                             United States Attorney
 7
 8                                           By /s/ Todd Pickles
                                             TODD PICKLES
 9                                           Assistant U.S. Attorney
10
11   DATED: June 11, 2014                    The CHASTAINE LAW OFFICE

12
                                             By /s/ Michael Chastaine
13
                                             MICHAEL CHASTAINE
14                                           Attorney for Defendant
                                             Elsie Fuller
15
16
17
18                                                  ORDER
19
20   IT IS SO ORDERED. Good Cause Appearing, it is hereby ordered that the previously
21   imposed Condition 9 is deleted.
22
               All other previously imposed conditions of pretrial release shall remain in full force and
23
     effect.
24
25   Dated: June 16, 2014.

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28


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